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 7
 8                                    UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA
10
     MELANIE SPORTSMAN,                                       Case No. 3:19-cv-03053-WHO
11
                         Plaintiff,                           REPLY IN SUPPORT OF PLAINTIFF’S
12                                                            MOTION FOR SUMMARY JUDGMENT
            v.                                                AND/OR PARTIAL SUMMARY
13                                                            JUDGMENT
     A PLACE FOR ROVER, INC. d/b/a Rover
14   et al.,                                                  Date:     March 31, 2021
                                                              Time:     2:00 p.m.
15                      Defendants.                           Location: Courtroom 2 – 17th floor
                                                                        San Francisco Courthouse
16                                                                      450 Golden Gate Avenue
                                                                        San Francisco, California
17
                                                              Judge:    The Honorable William H. Orrick
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 1   I.     INTRODUCTION

 2          Plaintiff Melanie Sportsman (“Plaintiff” or “Sportsman”) submits this reply in support

 3   for her motion for summary judgment and/or partial summary judgment (ECF No. 66). The

 4   opposition of Defendant A Place For Rover, Inc. d/b/a Rover (“Defendant” or “Rover”) (ECF

 5   No. 79) lacks merit. For the reasons below and in Plaintiff’s opposition to Defendant’s motion

 6   for summary judgment, the Court should rule that Rover does not qualify for the “referral

 7   agency” exemption of Labor Code § 2777 because Rover cannot prove that all of the statutory

 8   criteria for the exemption are satisfied. The Court should also deny Rover’s motion for

 9   summary judgment in its entirety and rule that under the Dynamex ABC Test, Rover

10   misclassified Sportsman because Rover cannot establish prong B and/or prong C. See

11   Dynamex Operations W. v. Super. Ct., 4 Cal. 5th 903, 917 (2018) (the “Dynamex ABC Test”).

12   II.    RELEVANT PROCEDURAL HISTORY

13          On February 24, 2021, both sides filed motions for summary judgment and/or for

14   partial summary judgment. Plaintiff hereby incorporates by reference her opposition to

15   Defendant’s motion (ECF No. 84) and supporting evidence (ECF Nos. 84-1 and 84-2).

16   III.   SUMMARY OF UNDISPUTED FACTS AND ISSUES

17          Rover does not specifically dispute or even address significant evidence, facts, and

18   legal arguments that are relevant to Plaintiff’s motion. The following are some key examples.

19          First, Rover does not address Plaintiff’s argument that the IWC Wage Orders apply to

20   Plaintiff’s work for Rover. See ECF No. 66 at ECF pages 23:27-26:4. Accordingly, Plaintiff

21   requests that the Court find that IWC Wage Order No. 5 applies.

22          Second, Rover does not dispute that if a Pet Care Provider rejects a client or

23   prospective client during a time period when the Pet Care Provider’s online calendar indicates

24   that he or she is “available,” the Pet Care Provider receives a lower performance score and

25   thus a lower search rank, and a lower search rank means that he or she is less likely to receive

26   booking requests and thus is less likely to earn income. See ECF No. 66 at ECF pages 16:12-

27   17:12 (citing evidence). Rover simply argues that this is “logical,” “reasonable,” and “in no

28   way a ‘penalty.’” See ECF No. 79 at ECF pages 20:2-16 and 26:3-17.
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 1          Third, Rover admits that it charges a “20% service fee.” See ECF No. 79 at ECF page

 2   24:27. Rover attempts to persuade the Court that this is not a “deduction” but does not deny

 3   the authenticity of the following evidence:

 4      •   Rover’s website informs Pet Care Providers that “you keep 80% of your earnings” and

 5          “[t]he other 20%” goes to Rover. See ECF No. 66-2 at ECF page 223.

 6      •   Rover calls the “20% service fee” a “sitter fee” (i.e., “[t]he sitter fee is 20%”) and is

 7          separate from a 5-7% service fee “for pet owners” (i.e., “[t]he 5-7% service fee that

 8          you are referencing is for pet owners only”). See ECF No. 66-1 at ECF page 7.

 9      •   Rover’s Rule 30(b)(6) witness testified as follows:

10                  Q. So Rover deducts 20 percent and transmits the other 80 percent to the dog care
                    provider; is that correct?
11                  A. That’s correct.

12          See Rover Depo. (ECF No. 66-2 at ECF page 19) at 38:25-39:3.

13      •   Rover’s “terms” state that the service fee is deducted from the rate that the “Pet Owner

14          agrees to pay you” (where “you” refers to the Pet Care Provider):

15                  If you are a Service Provider, except where otherwise specified via the Rover
                    Service, our service fee is calculated as a percentage of the fees a Pet Owner
16                  agrees to pay to you in a Booking and is collected from each Booking.

17          White Dec. at Ex. Y (ECF No. 68-1) at ECF page 8, ¶ 9.4 (emphasis added).
18                  If you are a Service Provider, our service fee is calculated as a percentage of the
                    fees a Pet Owner agrees to pay to you in a Booking. We deduct this service fee
19                  from the amounts paid by the Pet Owner.
20          White Dec. at Ex. Z (ECF No. 68-2) at ECF page 8, ¶ 10.3 (emphasis added).

21          Fourth, Rover does not deny that it has run advertising campaigns and does not dispute

22   the authenticity of the advertisements that Plaintiff has proffered as evidence that Rover

23   brands itself as a pet services provider. Compare ECF No. 66 at ECF pages 9:16-12:10 with

24   ECF No. 79 at ECF page 16:9-18.

25          Fifth, Rover does not deny that it: (1) generates revenue exclusively from the services

26   performed by the Pet Care Providers; (2) recognizes as revenue the payments made by Pet

27   Owners for the services provided by Pet Care Providers; and (3) would not generate revenue

28   without the Pet Care Providers. See ECF No. 66 at ECF page 9:1-15.
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 1   IV.    MELANIE SPORTSMAN’S DECLARATION SHOULD NOT BE STRICKEN

 2          Rover’s objections to the declaration of Melanie Sportsman (ECF No. 66-1) lack

 3   merit. Sportsman has personal knowledge of the statements in her declaration. Her statements

 4   are not conclusory. Nor are they opinion testimony.

 5          Exhibit B to Sportsman’s declaration (ECF No. 66-1 at ECF pages 8-13) is a printout

 6   from Rover’s website. Sportsman’s statements about it are based on her personal knowledge.

 7   Notably, Rover does not and cannot deny that the document is authentic, as Rover knows full

 8   well that it is a printout from its own website. Moreover, Plaintiff has asked that the Court

 9   take judicial notice of Exhibit B. See ECF No. 85 at ECF pages 6:22-7:2. Rover cannot

10   reasonably oppose that request, as Rover has argued that the Court may take judicial notice of

11   “publicly accessible webpages.” ECF No. 69 at ECF pages 2:12 and 3:25-4:6.

12          Contrary to Rover’s assertion, Sportsman did not testify that “Rover provided her only

13   with suggestions and tips.” ECF No. 79:22-23 (emphasis added) (citing LeCrone Dec., Ex. B

14   at 45:18-46:11). In the cited deposition testimony, Sportsman was responding to a line of

15   questioning in which she was asked about Rover’s “suggestions and tips,” but she certainly

16   never admitted that Rover did not also give “directions and instructions.”

17          The fact that “bathing / grooming” is identified in the Rover profile for Sportsman on

18   Rover’s website and mobile app does not contradict Sportsman’s statement about services she

19   provided. See ECF No. 66-1 at ECF page 2, ¶ 3. As the profile reflects, “bathing / grooming”

20   is an “[a]dditional [s]ervice[]” that a Pet Owner can purchase in addition to the four primary

21   services. See Tidrick Dec. Ex. 4, ECF No. 66-2 at ECF page 66.

22   V.     ROVER IS NOT EXEMPT FROM THE DYNAMEX ABC TEST PURSUANT

23   TO THE REFERRAL AGENCY EXEMPTION

24          Rover is not entitled to summary judgment that it is exempt from the Dynamex ABC Test

25   under the referral agency exemption set forth in California Labor Code § 2777. Section 2777

26   specifies that an entity claiming to be a “referral agency” has the burden of demonstrating that

27   numerous criteria are satisfied. See Labor Code § 2777(a) (stating in relevant part, “if the referral

28   agency demonstrates that all of the following criteria are satisfied”). Rover has not carried that
                                                           3
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 1   burden, and cannot do so, for the reasons below.

 2          A.      Rover Cannot Prove a Lack of “Deduction” by Rover

 3          For the reasons set forth in Plaintiff’s Opposition to Defendant’s Motion for Summary

 4   Judgement, see ECF No. 84 at ECF pages 15:1-17:18, Rover cannot show that Sportsman set her

 5   own rates “[w]ithout deduction by the referral agency.” See Cal. Labor Code § 2777(a)(10).

 6          In its opposition, Rover cites some of the legislative history of Labor Code § 2777 to

 7   support its position that it meets the requirements of Cal. Labor Code § 2777(a)(10). See ECF No.

 8   79 at ECF page 25:12-14 (quoting LeCrone Dec. Ex. J). Rover quotes the following but notably

 9   omits the part that is included here with emphasis: “Second, an existing referral agency is going

10   to remit the negotiated rate, including any potential gratuity, without deduction on the part of the

11   contractor. If, for example, a contractor billed her services at $25/hour, it would be permissible

12   for a referral agency to charge the client $35/hour and keep the $10 difference. It would not be

13   permissible, however, to place the costs of the operation of the referral agency on the shoulders

14   of the contractor.” See LeCrone Dec. Ex. J (ECF No. 80-10 at ECF page 11). That legislative

15   history supports Plaintiff’s position—not Rover’s—for the following reasons.

16          First, the passage from the legislative history states: “It would not be permissible . . . to

17   place the costs of the operation of the referral agency on the shoulders of the contractor.”

18   Rover has stated that it places the costs of its operations on the shoulders of the Pet Care

19   Providers, and specifically, that Rover’s “sitter fee” (i.e., Rover’s deduction of 20% from the

20   earnings of Pet Care Providers) pays for Rover’s operational costs. Rover has not disputed the

21   authenticity of the following message that Rover sent to Sportsman:

22          Thank you for reaching out about this! The 5-7% service fee that you are referencing is
            for pet owners only. The sitter fee is 20%. These fees help us to provide ongoing support,
23          educational opportunities and help each individual grow their business. The fees are also
            important with facilitating Rover’s customer support, 24/7 trust and safety coverage,
24          and important site maintenance and product improvements. Lastly, they help cover
            benefits for sitters, including the costs of processing payments and ongoing promotion
25          of sitters on Rover.

26   See Sportsman Dec. Ex. A (ECF No. 66-1 at ECF page 7) (emphasis added). Moreover, Rover

27   does not dispute the authenticity of its web page stating that Rover’s services fees (including its

28   “sitter fee”) pays for Rover’s operational costs, specifically:
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 1          Service fees allow Rover to operate and continually make improvements based on the
            needs of our growing community. . . . For pet sitters and dog walkers on Rover, these fees
 2          are designed to support you every step of the way, and they’re standard in our industry.
            We use these standard service fees to do things like:
 3
                 •   Continually improve your experience with the Rover website and mobile apps.
 4               •   Expand our Trust & Safety team to offer best-in-class 24/7 emergency support.
                     (That means whenever you call, we’ll be there to answer.)
 5               •   Create original educational content specifically for sitters in our Sitter Resources
                     Center and Help Center.
 6
            In short, these fees help us build our business so we can help you build yours.
 7
 8   See Tidrick Dec. ¶ 31 & Ex. 37 (“What are the service fees?”) (ECF No. 66-2 at ECF pages 217-

 9   18) (identifying separate service fees for “Sitters” and for “Owners”).

10          Second, the legislative history identifies the following example as permissible: “If, for

11   example, a contractor billed her services at $25/hour, it would be permissible for a referral agency

12   to charge the client $35/hour and keep the $10 difference.” In this example, the “contractor”

13   (here, the Pet Care Provider) is not charged a fee. Rather, only the “client” (here, the Pet Owner)

14   is charged a fee (i.e., an amount of $10/hour on top of what the “contractor” billed). However,

15   Rover’s practice is to charge fees not only to the Pet Care Provider but also to the Pet Owner, as

16   stated in the message that Rover sent Sportsman (quoted above) and in Rover’s terms of service.

17          Indeed, Rover’s terms of service identify “Fees for Pet Owners” as being separate and in

18   addition to “Fees for Service Providers.” See White Dec. (ECF No. 68-2 at ECF page 8), Ex. Z

19   (Terms of Service updated January 31, 2017), ¶¶ 10.1, 10.2, and 10.3; White Dec. (ECF No. 68-1

20   at ECF page 8), Ex. Y (Terms of Service effective Oct. 27, 2020), ¶ 9.4 (“Our service fees are

21   described here (https://support.rover.com/hc/en-us/articles/205385304”) (linking to Rover’s web

22   page entitled “What are the service fees?” (Tidrick Dec. Ex. 37) (ECF No. 66-2 at ECF pages

23   217-18) (identifying separate service fees for “Sitters” and for “Owners”)).

24          Rover’s practice regarding fees is clearly at odds with what the legislative history

25   indicates would comply with the requirements of Cal. Labor Code § 2777(a)(10).

26          B.       Rover Cannot Prove a Lack of “Penalization” by Rover

27          For the reasons set forth in Plaintiff’s Opposition to Defendant’s Motion for Summary

28   Judgement, see ECF No. 84, ECF pages 17:19-18:7, Rover cannot meet the criterion of Cal.
                                                           5
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 1   Labor Code § 2777(a)(11) (requiring that “[t]he service provider is free to accept or reject clients

 2   and contracts, without being penalized in any form by the referral agency.”).

 3          In addition, as discussed above, Rover does not dispute critical facts. Rover does not

 4   dispute that (1) if the Pet Care Provider rejects a client or prospective client during a time period

 5   when his or her online calendar indicates that he or she is “available,” he or she receives a lower

 6   performance score and thus a lower search rank, and (2) a lower search rank means that he or she

 7   is less likely to receive booking requests and is less likely to earn income. See ECF No. 66 at ECF

 8   pages 16:12-17:12 (citing evidence). Rather, Rover simply argues that this is “logical,”

 9   “reasonable,” and “in no way a ‘penalty.’” See ECF No. 79 at ECF pages 20:2-16 and 26:3-17.

10          Rover’s position that its treatment of Pet Care Providers who reject clients or prospective

11   clients does not qualify as “penalization” is wrong as a matter of law.

12          First, the plain meaning of the statute controls, and under the statute’s plain meaning, the

13   disadvantage that Rover imposes is a penalty. As with all statutory interpretation, the Court’s

14   “inquiry begins with the statutory text, and ends there as well if the text is unambiguous.” BedRoc

15   Ltd., LLC v. United States, 541 U.S. 176, 183 (2004); see also Desire, LLC v. Manna Textiles,

16   Inc., 986 F.3d 1253, 1265 (9th Cir. 2021) (“[W]hen the statutory language is unambiguous, the

17   plain meaning controls.”). Labor Code Section 2777 does not define “penalize” and thus the

18   Court can and should consult dictionary definitions. See United States v. TRW Rifle 7.62X51mm

19   Caliber, One Model 14 Serial 593006, 447 F.3d 686, 689 (9th Cir. 2006) (“Congress did not

20   define what it meant by ‘readily’ or ‘restored’ in § 5845(b); ‘thus, we follow the common practice

21   of consulting dictionary definitions to clarify their ordinary meaning[]’”). This Court has held:

22          In its ordinary and popular sense, “penalty” is defined as “disadvantage, loss, or hardship
            due to some action (as transgression or error)[.]” Webster’s Third New International
23          Dictionary (1986) p. 1668.

24   See Citizens For Lawful & Effective Attendance Policies v. Sequoia Union High Sch. Dist., 1998

25   WL 305513, at *7 (N.D. Cal. June 4, 1998). Thus, Rover’s imposition of a “disadvantage” on Pet

26   Care Providers who reject clients falls within the meaning of “penalized” in section 2777(a)(11).

27          Second, in the context of a statute regulating private employers that cannot impose

28   “criminal penalties” or “civil penalties” as governments do, Section 2777’s use of the word
                                                           6
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 1   “penalized” clearly does not narrowly refer to civil or criminal penalties. Cf. Mississippi Tank

 2   Co., Inc., 194 NLRB 923, 924 (1972) (holding that “the Company may not penalize employees

 3   because of their union membership or activity and that “depriv[ing an employee] of work”

 4   constituted an impermissible penalty).

 5          Third, because the statute says “without being penalized in any form,” the phrase “in any

 6   form” means that “penalized” should be broadly construed. See United States v. Seeger, 380 U.S.

 7   163, 165 (1965) (broadly construing a statute that included the phrase “in any form”). The phrase

 8   “in any form” clearly modifies “penalized.” See United States v. Bass, 404 U.S. 336, 339-40

 9   (1971) (a modifying phrase in a statute “undeniably applies to at least one antecedent”); cf.

10   Lockhart v. United States, 136 S. Ct. 958, 962 (2016) (the “rule of the last antecedent.”).

11          C.      Rover Cannot Prove that Sportsman Was Engaged in an Independently

12          Established Pet Care Business

13          In its opposition, Rover cites Garcia v. Border Transp. Grp., LLC, 28 Cal. App. 5th

14   558 (2018) but does not specifically address or deny Garcia’s holding that “Dynamex makes

15   clear that the question in part C is not whether [the hiring entity] prohibited or prevented [the

16   worker] from engaging in an independently established business” but rather whether the

17   worker “independently has made the decision to go into business for himself or herself” and

18   has taken “the usual steps to establish and promote his or her independent business—for

19   example, through incorporation, licensure, advertisements, routine offerings to provide

20   services of the independent business to the public or to a number of potential customers, and

21   the like.” Id. at 572-73 (emphasis in original). Compare ECF No. 66 at ECF page 29:2-23

22   with ECF No. 79 at ECF page 27 n.13. Given Rover’s admission that Prong C of Dynamex

23   “closely resembles the seventh factor of the referral agency exemption,” see ECF No. 79 at

24   ECF page 27:11-14, Garcia’s holding clearly governs the analysis of whether Rover can meet

25   the requirements of Labor Code § 2777(a)(7).

26          Rather than address Garcia, Rover asserts that Sportsman was engaged in an

27   independent business because “Plaintiff provided dog services before joining Rover, and she

28   marketed herself as having 35 years of experience.” See ECF No. 65 at ECF pages 21:28-
                                                           7
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   22:1. Rover’s position lacks merit for the following reasons.

 2          First, for the reasons set forth in Plaintiff’s Opposition, the evidence that Rover cites

 3   does not show that Sportsman was ever engaged in an “independently established business or

 4   trade” providing pet care services. See ECF No. 84 at ECF pages 12:27-13:11.

 5          Second, Rover’s evidence does not show that Sportsman made a decision to go into

 6   business for herself or took any steps to establish and promote an independent business. See

 7   Garcia, 28 Cal. App. 5th at 570 (quoting Dynamex) (“Part C asks whether the worker

 8   “independently has made the decision to go into business for himself or herself.” This factor

 9   can be proven with evidence that the worker has “take[n] the usual steps to establish and

10   promote his or her independent business—for example, through incorporation, licensure,

11   advertisements, routine offerings to provide the services of the independent business to the

12   public or to a number of potential customers, and the like.”) (emphasis in original). There is

13   no genuine dispute that Sportsman never independently made a decision to go into business

14   for herself or took any steps to establish and promote an independent pet care business. See

15   ECF No. 66-1 ¶¶ 5, 12; Transcript of Depo. of Melanie Sportsman (ECF No. 67-2, at ECF

16   page 13), at 28:6-17 (testifying that she “wanted to work as an employee”).

17   VI.    ROVER CANNOT MEET ITS BURDEN UNDER THE DYNAMEX ABC TEST

18          Rover does not contest Plaintiff’s legal analysis of Rover’s burden under Dynamex: once

19   Plaintiff has established that a wage order applies to her work, the burden shifts to Rover to prove

20   that Plaintiff was properly classified. See Dynamex, 4 Cal. 5th at 957; Garcia, 28 Cal. App. 5th at

21   572-73; Arshakyan v. X17, Inc., 2019 WL 10097455, at *2 (C.D. Cal. June 21, 2019). Compare

22   ECF No. 66 at ECF pages 26:5-25 and 30:2-11 with ECF No. 79 at ECF page 15:3-9.

23          As discussed above, Rover does not deny that a wage order applies to Plaintiff’s work. See

24   supra at page 1:18-20. Thus, the burden shifts to Rover to prove that Plaintiff was properly

25   classified by proving all prongs of the Dynamex ABC Test. For the reasons below, no reasonable

26   trier of fact could find in favor of Rover on prongs B or C of Dynamex. See Anderson v. Liberty

27   Lobby, Inc., 477 U.S. 242, 248 (1986) (holding that a factual dispute is “genuine” when “the

28   evidence is such that a reasonable [trier of fact] could return a verdict for the nonmoving party.”).
                                                           8
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1          A.      Rover Cannot Establish That “The Worker Performs Work That Is

 2          Outside The Usual Course of [Defendant’s] Business” (“Prong B”)

 3                  1.      The Evidence Does Not Reflect Genuine Disputes of Material Fact

 4          Rover asserts that the work performed by Pet Care Providers is outside the scope of its

 5   business because it does not offer and sell pet care services, brand itself as a pet care provider,

 6   or control the work of the Pet Care Providers. See ECF 79 at ECF page 28:7-12. Rover’s

 7   position lacks merit for the following reasons.

 8          First, the usual course of Rover’s business as a pet care service provider cannot reasonably

 9   be disputed in light of the evidence that Rover: (1) was founded to compete with kennels; (2) has

10   described itself as “the largest network of dog sitters in the U.S.”; (3) could not operate without

11   its Pet Care Providers; and (4) depends on the work of Pet Care Providers to generate revenue.

12   See Plaintiff’s Motion (ECF No. 66) at ECF page 28:7-18 (citing evidence). Rover does not

13   dispute the authenticity of this evidence or attempt to explain why the evidence fails to prove that

14   Rover’s usual course of business is providing pet care services.

15          Second, Rover proffers its Terms of Service as evidence that it does not “offer and sell”

16   services. See ECF No. 79 at ECF page 15:19-27. But Rover does not dispute the authenticity of

17   the images showing how Rover’s mobile app and website display the services, see ECF No. 66 at

18   ECF pages 8:2-14 (“Rover.com Services”), 15:7-18 (“our full list of services”), or deny that it

19   calls itself “the largest dog walking service in the country.” See ECF No. 66 at ECF page 8:16-18.

20          Third, Rover asserts that the marketing materials proffered by Sportsman indicate that

21   Rover is a “marketplace where Pet Owners can find pet care providers to provide those services.”

22   See ECF No. 79 at ECF page 16:9-18 & n.6. However, Rover never uses the word “marketplace”

23   in the marketing materials. Moreover, Rover identifies only three of the seven commercials as

24   containing material that it believes supports its position, but those three commercials each include

25   statements indicating that Rover provides pet care services. See, e.g., Ex. 44 at 0:01-0:10 (“When

26   there’s thunder, we’ve got cuddles. At Rover.com we’re the dog people, ready to be there for

27   your dog, rain or shine.”); Ex. 47 at 0:27-0:30 (“Rover.com THE DOG PEOPLE”); Ex. 42 at 0:55

28   (“Rover THE DOG PEOPLE”). Grasping at straws, Rover seems to suggest that the people in the
                                                           9
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   commercials wearing Rover T-shirts caring for dogs may be pet owners or members of the

 2   “shopping public” who have nothing to do with Rover, but no reasonable person would interpret

 3   those images as depicting anyone other than the workers whose services Rover is selling.

 4          Similarly, with respect to the six examples of Rover’s recruitment pieces that Sportsman

 5   proffered, Rover identifies only two (i.e., Exs. 19 and 24) as containing material that it believes

 6   supports its position, but those two recruitment pieces each state that the Pet Care Provider

 7   position is a “job” with Rover, thus indicating that Rover is in the pet care services business.1

 8          Fourth, Rover’s assertion regarding its purported lack of control over the Pet Care

 9   Providers (which Plaintiff disputes, see ECF No. 66 at ECF pages 15-22) is not relevant to the

10   determination of the scope of its business under Prong B. See Dynamex, 4 Cal. 5th at 959 (stating

11   that Prong B is “independent of the question of control”).

12                  2.      Rover Does Not Address the Factors Set Forth in Vazquez v. Jan-

13                  Pro Franchising Int’l, Inc., 986 F.3d 1106 (9th Cir. 2021)

14          Despite Rover having the burden of proving all prongs of the Dynamex ABC Test,

15   Rover does not address the factors set forth in the leading Ninth Circuit case, Vazquez v. Jan-

16   Pro Franchising Int’l, Inc., 986 F.3d 1106 (9th Cir. 2021), in which the Ninth Circuit held:

17          Analytically, courts have framed the Prong B inquiry in several ways. They have
            considered whether the work of the employee is necessary to or merely incidental to
18          that of the hiring entity, whether the work of the employee is continuously
            performed for the hiring entity, and what business the hiring entity proclaims to be
19          in. . . . All of these formulations should be considered in determining whether Jan-
            Pro was Plaintiffs’ employer . . . .
20
     Id. at 1125 (emphasis added).
21
                            a)    “Whether the work of the employee is necessary to or
22                          merely incidental to that of the hiring entity” is relevant to Prong B
23          In Vazquez, the Ninth Circuit endorsed a “common test for comparing the businesses
24   of a hiring entity and a putative employee” under Prong B, specifically, to analyze “whether
     1
25     See Ex. 24 (“Whether you’re looking for a summer job or a side gig during the school year,
     Rover is an excellent choice for a part-time job for college students.”) (emphasis added); Ex. 19
26   (“Become a Rover sitter – Make up to $1,000/month watching dogs in your home. . . . If you
     work from home or you’re a student, recent grad, seasonal worker, contract worker, stay at home
27   mom, stay at home dad--or you’re just looking for flexible work, gig work, part-time work,
     seasonal work, a summer job or work to earn additional money on the side--Rover could be a
28   great fit for you.”) (emphasis added).
                                                          10
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   the putative employees were ‘necessary’ or ‘incidental’ to the hiring entity’s business. In

 2   some cases, this inquiry can be conducted through a common-sense observation of the nature

 3   of the businesses. . . . In other cases, courts view the ‘necessary’ versus ‘incidental’ distinction

 4   in more economic terms.” Id. at 1125-26 (citing cases). The Ninth Circuit applied this test to

 5   the defendant in Vazquez, Jan-Pro, and reasoned as follows:

 6          First, Jan-Pro’s business ultimately depends on someone performing the cleaning. That
            work is performed solely by the unit franchisees. Thus, Jan-Pro fundamentally
 7          depends on a supply of unit franchisees for its business (and, accordingly, requires its
            regional master franchisees to sell a minimum number of unit franchises). Second,
 8          Jan-Pro earns a percentage of the payments that customers pay for cleaning services.
            Thus, unlike the medallion owners in Parks Cab, Jan-Pro is not indifferent to how
 9          much work unit franchisees do or how well they perform that work. It is not simply
            renting out its trademark and goodwill to independent entities that could use it to
10          perform cleaning services. Rather, Jan-Pro is actively and continuously profiting from
            the performance of those cleaning services as they are being performed.
11
12   Id. at 1126.

13          Here, there can be no reasonable dispute that the Pet Care Providers are “necessary” to

14   Rover’s business. First, Rover has stated that Pet Care Providers are essential to its business:

15          Pet sitters and dog walkers are the cornerstone of our business. Without their passion,
            hard work, and devotion to providing amazing pet care, we wouldn’t be here.
16
17   See Tidrick Dec. Ex. 37 (“What are the service fees?”) (ECF No. 66-2 at ECF page 218)

18   (emphasis added); Stipulation Regarding Authenticity of Documents (ECF No. 61), ¶ 46.

19          Second, like Jan-Pro, Rover’s “business ultimately depends” on people performing the

20   pet care services. Rover does not deny that it: (1) generates revenue exclusively from the

21   services performed by the Pet Care Providers; and (2) recognizes as revenue the payments

22   made by Pet Owners for the services provided by the Pet Care Providers. See ECF No. 66 at

23   ECF page 9:1-15.

24          Third, like Jan-Pro, Rover is “not indifferent to how much work” is performed or

25   “how well” the work is performed. As discussed above, Rover generates its revenue from the

26   work performed by the Pet Care Providers. Moreover, Rover is so concerned about how well

27   the work is performed that it: (1) provides Pet Owners with the “Rover Guarantee” to ensure

28   that when a Pet Care Provider is “unable or unwilling to pay for costs arising from damage or
                                                          11
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   injury attributable to his or her negligence,” Rover will make up the difference, see ECF No.

 2   66 at ECF page 14:14-21 (citing evidence); (2) has a performance scoring system that

 3   purports to provide the Pet Care Provider with a “sense of how [he or she is] performing

 4   compared to other” Pet Care Providers, see ECF No. 66 at ECF page 16:13-23 (citing

 5   evidence); (3) has a detailed reporting system so that Pet Care Providers can inform Rover and

 6   the Pet Owners about the work that they are performing see ECF No. 66 at ECF pages 20:26-

 7   22:5 (citing evidence); and (4) promises that if a Pet Care Provider has failed to provide

 8   services in accordance with Rover’s guidelines and policies, Rover will issue a full or partial

 9   refund to the Pet Owner. See ECF No. 66 at ECF page 14:24–27.

10                           b)    “Whether the work of the employee is continuously
                             performed for the hiring entity” is relevant to Prong B
11
             The Ninth Circuit also held: “In analyzing Prong B, some courts have also looked to
12
     whether the services of the putative employee are continuously used by the hiring entity. This
13
     approach also helps capture the distinction between independent contractor arrangements
14
     designed to evade requirements placed on employers and traditional contractors like
15
     electricians and plumbers, who perform incidental services for otherwise unrelated
16
     businesses.” Vazquez, 986 F.3d at 1126. There is no reasonable dispute that the Pet Care
17
     Providers’ services are “continuously” used by Rover. The Pet Care Providers are not like
18
     electricians or plumbers who perform incidental services for otherwise unrelated businesses.
19
                             c)     “What business the hiring entity proclaims to be in” is
20                           relevant to Prong B

21           The Ninth Circuit also held that “how the business describes itself” is relevant in

22   determining the usual course of a hiring entity’s business. Id. at 1127.

23           In light of Rover’s own statements about its business, as well as Rover’s marketing

24   efforts, see supra at page 9, there can be no reasonable dispute that Rover has proclaimed

25   itself to be in the pet care business.

26           Rover’s assertion that it is not in the pet care business but is merely a “platform” is

27   similar to Jan-Pro’s assertion “that it is in the business of ‘franchising’ rather than cleaning.”

28   Vazquez, 986 F.3d at 1127, which the Ninth Circuit viewed skeptically:
                                                           12
                       REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                           Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1          Various courts and arbitrators, however, have been skeptical of such characterizations,
            especially in the cleaning franchise industry. This skepticism was pointedly expressed
 2          by a district court in Massachusetts:

 3                  [F]ranchising is not in itself a business, rather a company is in business of
                    selling goods or services and uses the franchise model as a means of
 4                  distributing the goods or services to the final end user without acquiring
                    significant distribution costs. Describing franchising as a business in itself, as
 5                  Coverall seeks to do, sounds vaguely like a description of a modified Ponzi
                    scheme—a company that does not earn money from the sale of goods and
 6                  services, but from taking in more money from unwitting franchisees to make
                    payments to previous franchisees.
 7
            Awuah, 707 F. Supp.2d at 84; see also Da Costa, 2017 WL 4817349, at *6
 8          (“Vanguard cannot reasonably maintain that commercial cleaning is not part of its
            ordinary course of business to avoid classifying its workers as employees while
 9          simultaneously touting that it is ‘a leader in the commercial cleaning
            industry.’”); Riberio, AAA No. 01 15 0003 8637, at *29 (Aug. 23, 2016).
10
11   Id. at 1127. So too here, being a “platform” is not in itself a business; rather, Rover is in the

12   business of pet care, and its “platform” is a model for delivering the services. Rover cannot

13   reasonably maintain that it is not in the pet care business, particularly when it declares that

14   “[p]et sitters and dog walkers are the cornerstone of our business” and touts itself as “the

15   largest dog walking service in the country.” See supra at pages 9 and 11.

16                  3.      Rover’s CEO Does Not Deny that Rover Is the “Uber for Dogs”

17          Rover attempts to distinguish its business model from Uber’s business model. See

18   ECF No. 79 at ECF pages 28:23–30:19. However, when Rover’s CEO was asked what he

19   thinks of Rover being compared to Uber, Rover’s CEO responded: “I mean, I think it’s fine. I

20   mean, we’ve been called the AirBNB for dogs, the Uber for dogs, you know, I think it’s a

21   decent connotation although most people, once they use it, they realize there’s a very different

22   experience, it’s a richer experience with the service providers.” See Tidrick Dec. (ECF No.

23   66-2) ¶ 12 & Ex. 17 (video of interview of Rover’s CEO, Aaron Easterly), at 02:08-02:30.

24          B.     Rover Cannot Establish That Plaintiff “Is Customarily Engaged in an
            Independently Established Trade, Occupation, Or Business of The Same Nature
25          as The Work Performed” (“Prong C”)

26          For the reasons set forth above and in Plaintiff’s motion, Rover cannot establish that

27   Sportsman “is customarily engaged in an independently established trade, occupation or business

28   of the same nature as the work performed.” See supra at pages 7-8; ECF Nos. 66, 66-1 and 66-2.
                                                          13
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   VII.   ROVER’S EVIDENCE REGARDING MILLER IS IRRELEVANT

 2          For the reasons set forth in Plaintiff’s Opposition, Rover’s evidence about the former

 3   named Plaintiff, Erika Miller, is not relevant. See ECF No. 84 at ECF page 23:10-28.

 4   VIII. THE QUESTIONS WHETHER PET CARE PROVIDERS ARE “PERMITTED”
     TO RUN THEIR OWN SEPARATELY ESTABLISHED BUSINESSES, OR
 5   WHETHER ANY IN FACT DO SO, ARE NOT RELEVANT

 6          Rover argues: “It is undisputed that Pet Care Providers are permitted to, and do, run

 7   their own businesses.” ECF No. 29 at ECF page 27:21-22. This is a red herring.

 8          First, the question whether any Pet Care Provider other than plaintiff Melanie

 9   Sportsman has their own separately established business is not relevant for either side’s

10   motion for summary judgment because the question at this stage is whether Rover

11   misclassified Melanie Sportsman specifically. See ECF No. 84 at ECF pages 6:14-7:2 (section

12   entitled “Relevant Procedural History); see also ECF No. 49 at ECF page 7:10-17 (Rover’s

13   position that at this stage of the case, the focus should be on the named plaintiff).

14          Second, the question whether a Pet Care Provider is “permitted” to run their own

15   business is not relevant to prong C of Dynamex. See Garcia, 28 Cal. App. 5th at 572-73

16   (citing Dynamex, 4 Cal. 5th at 962). See also ECF No. 66 at ECF pages 29:2-30:1.

17          Third, Rover’s assertion that Sportsman must prove that she is “similarly situated” to

18   other Pet Care Providers is wrong. Rover relies exclusively on a couple phrases in Patel v.

19   Nike Retail Servs., Inc., 58 F. Supp. 3d 1032 (N.D. Cal. 2014). That case does not stand for

20   the proposition that a plaintiff prosecuting a PAGA action must prove that she is “similarly

21   situated” to other workers. At most, the quoted language is dicta. Moreover, the phrase

22   “similarly situated” means different things in different contexts. In a case such as this—a law

23   enforcement action brought pursuant PAGA—there is no requirement that the plaintiff be

24   “typical.” “[U]nlike Rule 23(a), PAGA contains no requirements of numerosity, commonality,

25   or typicality.” Canela v. Costco Wholesale Corp., 971 F.3d 845, 851 (9th Cir. 2020) (quoting

26   Baumann v. Chase Inv. Servs. Corp., 747 F.3d 1117, 1123 (9th Cir. 2014)). This is because,

27   inter alia, “[i]n contrast [to class actions], PAGA suits ‘primarily seek to vindicate the public

28   interest in enforcement of California’s labor law.’” Canela, 971 F.3d at 852. Notwithstanding
                                                          14
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   the foregoing, Plaintiff submits that she is in fact similarly situated to the workers covered by

 2   this PAGA action because she worked as a Pet Care Provider for Rover, and she is in fact

 3   typical of the people who work in that position.

 4   IX.    THE COURT SHOULD DISREGARD ROVER’S ARGUMENT ABOUT AN

 5   OPINION LETTER OF THE U.S. DEPARTMENT OF LABOR

 6          In a footnote, Rover cites an opinion letter of the U.S. Department of Labor issued

 7   during the Trump Administration. See ECF No. 79 at ECF page 17 n.8. The letter is irrelevant

 8   and non-binding, and the Court should disregard Rover’s argument about it.

 9          First, the analysis of whether a worker has been misclassified is different under the

10   FLSA (and more lenient toward employers) than under Dynamex. See Haitayan v. 7-Eleven,

11   Inc., 2018 WL 6264995, at *2 (C.D. Cal. Sept. 5, 2018); Dynamex, 4 Cal. 5th at 958 n.25.

12          Second, the letter is non-binding. See Weaver v. City & Cty. of San Francisco, 2006

13   WL 3751425, at *1 (N.D. Cal. Dec. 19, 2006).

14          Third, while Rover may favor the Trump Administration’s opinion regarding worker

15   misclassification, the Biden Administration has already reversed course. On January 20, 2021,

16   the Biden Administration issued a “Memorandum for the Heads of Executive Departments

17   and Agencies” entitled “Regulatory Freeze Pending Review” published in the Federal

18   Register at 86 FR 7424-01, 2021 WL 274887. That froze the Trump Administration’s new

19   independent contractor rule that had been scheduled to take effect March 8, 2021. See 86 FR

20   1168-01, 2021 WL 51656. That action was the first step in the Biden Administration’s

21   commitment to establishing a federal standard regarding worker classification modeled on

22   California’s ABC test. See Second Supp. Dec. of Steven Tidrick, filed herewith, Ex. 55.

23          Fourth, this Court can disregard Rover’s argument as it is exclusively in a footnote.

24   See Cheever v. Huawei Device USA, Inc., 2019 WL 8883942, at *3 (N.D. Cal. Dec. 4, 2019).

25   X.     CONCLUSION

26          Plaintiff respectfully requests that the Court grant Plaintiff’s Motion for Summary

27   Judgment and/or Partial Summary Judgment (ECF No. 66) and deny Defendant’s Motion for

28   Summary Judgment (ECF No. 65).
                                                          15
                      REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
 1   DATED: March 17, 2021                        Respectfully submitted,

 2                                                THE TIDRICK LAW FIRM LLP

 3                                                By: /s/ Steven G. Tidrick
                                                  ______________________________
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 5
                                                  Counsel for Plaintiff Melanie Sportsman
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                  REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                      Sportsman v. A Place for Rover, Inc. et al., Case No. 3:19-cv-03053-WHO
